     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 1 of 31 Page ID #:1



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 8
 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
     JEFF TYLER, Individually and on              Case No.:
12
     Behalf of All Others Similarly Situated,
13                                                CLASS ACTION
14
                                     Plaintiff,
                                                  CLASS ACTION COMPLAINT
15        vs.                                     FOR VIOLATIONS OF THE
16                                                FEDERAL SECURITIES LAWS
     CANOO INC., TONY AQUILA,
17   ULRICH KRANZ, and PAUL
18   BALCIUNAS,                                   JURY TRIAL DEMANDED
19
                                   Defendants.
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31      CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 2 of 31 Page ID #:2



 1
                                           INTRODUCTION

 2
           Plaintiff, by his undersigned attorneys, alleges upon personal knowledge as to
 3
 4   himself and his own acts, and upon information and belief as to all other matters, based

 5   on the investigation conducted by and through Plaintiff’s attorneys, which included,
 6
     among other things, a review of the public documents and announcements issued by
 7
 8   Canoo Inc. (“Canoo” or the “Company”), filings with the U.S. Securities and Exchange
 9
     Commission (“SEC”), wire and press releases published by and regarding the Company,
10
11
     securities analysts’ reports and advisories about the Company, and other information

12   readily obtainable on the Internet.
13
                                   NATURE OF THE ACTION
14
15         1.     This is a federal class action brought individually and on behalf of all other
16
     persons and entities who purchased or otherwise acquired publicly-traded Canoo
17
18   common stock and/or warrants from August 18, 2020, through and including March 29,
19
     2021, (the “Class Period”), seeking to recover damages pursuant to Sections 10(b) and
20
21
     20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§78j(b)

22   and 78t(a), and Rule 10b-5 promulgated thereunder (the “Class”).
23
                                  JURISDICTION AND VENUE
24
25         2.     The claims alleged herein arise under Sections 10(b) and 20(a) of the
26
     Exchange Act, 15 U.S.C. §§78j(b) and 78t(a) and Rule 10b-5 promulgated thereunder
27
28   (17 C.F.R. § 240.10b-5).
29
30                                       1
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 3 of 31 Page ID #:3



 1
            3.   This Court has jurisdiction over the subject matter of this action pursuant to

 2   Section 27 of the Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1331.
 3
            4.   Venue is proper in this District pursuant to Section 27 of the Exchange Act,
 4
 5   15 U.S.C. § 78aa, and 28 U.S.C. § 1391(b), as a substantial part of the acts events or
 6
     omissions giving rise to the claims pleaded herein occurred in this District and
 7
     defendants named herein maintain their residence or principal places of business in this
 8
 9   District.
10
            5.   In connection with the acts alleged in this complaint, Defendants, directly or
11
12   indirectly, used the means and instrumentalities of interstate commerce, including, but
13   not limited to, the United States mails, interstate telephone communications and the
14
     facilities of the NASDAQ National Securities Market (“NASDAQ”).
15
16                                         PARTIES
17
            6.   Plaintiff purchased shares of Canoo common stock, as set forth in the
18
19   accompanying certification, which is incorporated by reference herein, and has been
20
     damaged thereby.
21
22          7.   Canoo (formerly known as Hennessy Capital Acquisition Corp. IV) is a
23   Delaware corporation and maintains its principal executive offices in 19951 Mariner
24
     Avenue, Torrance, California. The Company was incorporated in Delaware on August
25
26   6, 2018 and conducted its initial public offering in March 2019. The Company was
27
     formed for the purpose of effecting a business combination with specific focus on
28
29   businesses in the industrial, technology and infrastructure sectors. Such companies are
30                                       2
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 4 of 31 Page ID #:4



 1
     referred to as “blank check” companies or special purpose acquisition companies

 2   (“SPACs”). In December 2020, the Company entered into a business combination with
 3
     Canoo Holdings Limited (the “Business Combination”).       The combined company
 4
 5   purports to be a mobility technology company that develops electric vehicles (“EV”).
 6
     The Company’s common stock and warrants are listed on the NASDAQ under the ticker
 7
     symbol “GOEV” and “GOEVW,” respectively.          Prior to December 22, 2020, the
 8
 9   Company’s common stock and warrants traded under the symbols “HCAC” and
10
     “HCACW,” respectively.
11
12         8.    Defendant Ulrich Kranz (“Kranz”) served as Co-Founder and Chief
13   Executive Officer (“CEO”) of Canoo Holdings Limited until he became the Company’s
14
     CEO, In Charge after the Business Combination.
15
16         9.    Defendant Paul Balciunas (“Balciunas”) served as Canoo Holdings
17
     Limited’s In Charge of Finance (CFO) & Corporate Development until he became Chief
18
19   Financial Officer (“CFO”) In Charge of Finance after the Business Combination. On
20   March 29, 2021, the Company announced that Balciunas would be resigning from the
21
     Company effective April 2, 2021. Balciunas signed the Company’s Annual Report for
22
23   the fiscal year ended December 31, 2020 filed on Form 10-K with the SEC on March 31,
24
     2021 (“FY 2020 10-K”) as the Company’s “Principal Financial Officer and Principal
25
26   Accounting Officer.”

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        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 5 of 31 Page ID #:5



 1
           10.    Defendant Anthony (Tony) Aquila (“Aquila”) began serving as Executive

 2   Chairman and Director after the Business Combination. Aquila signed the FY 2020 10-
 3
     K as the Company’s “Principal Executive Officer.”
 4
 5         11.    Defendants Kranz, Balciunas and Aquila are collectively referred to herein
 6
     as the “Individual Defendants.”
 7
           12.    The Individual Defendants, because of their positions with the Company,
 8
 9   controlled and/or possessed the authority to control the contents of its reports, press
10
     releases and presentations to securities analysts and through them, to the investing
11
12   public.   By reason of their management positions and their ability to make public
13   statements in the name of Canoo, the Individual Defendants were and are controlling
14
     persons, and had the power and influence to cause (and did cause) Canoo to engage in
15
16   the conduct complained of herein.
17
                               CLASS ACTION ALLEGATIONS
18
19         13.    Plaintiff brings this action as a class action pursuant to Rules 23(a) and
20
     (b)(3) of the Federal Rules of Civil Procedure on behalf of all those who purchased or
21
22   otherwise acquired publicly traded Canoo common stock and/or warrants from August
23   18, 2020, through and including March 29, 2021.           Excluded from the Class are
24
     Defendants herein, members of the immediate family of each of the Defendants, any
25
26   person, firm, trust, corporation, officer, director or other individual or entity in which
27
     any Defendant has a controlling interest or which is related to or affiliated with any of
28
29
30                                       4
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 6 of 31 Page ID #:6



 1
     the Defendants, and the legal representatives, agents, affiliates, heirs, successors-in-

 2   interest or assigns of any such excluded party.
 3
           14.    The members of the Class are located in geographically diverse areas and
 4
 5   are so numerous that joinder of all members is impracticable. Throughout the Class
 6
     Period, Canoo common stock and warrants were actively traded on the NASDAQ.
 7
     Although the exact number of Class members is unknown at this time and can only be
 8
 9   ascertained through appropriate discovery, Plaintiff believes there are thousands of
10
     members of the Class who traded the Company’s common stock and warrants during the
11
12   Class Period.
13         15.    Common questions of law and fact exist as to all members of the Class and
14
     predominate over any questions affecting solely individual members of the Class.
15
16   Among the questions of law and fact common to the Class are:
17
                  (a)   Whether Defendants violated federal securities laws based upon the
18
19                      facts alleged herein;
20                (b)   Whether statements made by Defendants to the investing public
21
                        during the Class Period misrepresented material facts about the
22
23                      business, operations and management;
24
                  (c)   Whether the Individual Defendants caused Canoo to issue false and
25
26                      misleading statements during the Class Period;

27                (d)   Whether Defendants acted knowingly or recklessly in issuing false
28
                        and misleading statements;
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30                                       5
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 7 of 31 Page ID #:7



 1
                  (e)    Whether the prices of Canoo common stock and warrants during the

 2                       Class Period were artificially inflated because of the Defendants’
 3
                         conduct complained of herein; and
 4
 5                (f)    Whether the members of the Class have sustained damages and, if so,
 6
                         the proper measure of damages.
 7
           16.    Plaintiff’s claims are typical of the claims of the members of the Class as
 8
 9   Plaintiff and members of the Class sustained damages arising out of Defendants’
10
     wrongful conduct in violation of federal laws as complained of herein.
11
12         17.    Plaintiff will fairly and adequately protect the interests of the members of
13   the Class and has retained counsel competent and experienced in class and securities
14
     litigation. Plaintiff has no interests antagonistic to, or in conflict with, those of the Class.
15
16         18.    A class action is superior to alternative methods for the fair and efficient
17
     adjudication of this controversy since joinder of all members of this Class is
18
19   impracticable. Furthermore, because the damages suffered by individual Class members
20   may be relatively small, the expense and burden of individual litigation make it
21
     impossible for the Class members individually to redress the wrongs done to them.
22
23   There will be no difficulty in the management of this action as a class action.
24
           19.    Plaintiff will rely, in part, upon the presumption of reliance established by
25
26   the fraud-on-the-market doctrine in that:

27                (a)    Defendants made public misrepresentations or failed to disclose
28                       material facts during the Class Period;
29
30                                       6
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 8 of 31 Page ID #:8



 1
                  (b)   the omissions and misrepresentations were material;

 2                (c)   Canoo common stock and warrants are traded in an efficient market;
 3
                  (d)   the Company’s shares were liquid and traded with moderate to heavy
 4                      volume during the Class Period;
 5
                  (e)   the Company traded on the NASDAQ and was covered by multiple
 6
                        analysts;
 7
                  (f)   the misrepresentations and omissions alleged would tend to induce a
 8
                        reasonable investor to misjudge the value of the Company’s
 9                      securities; and
10
                  (g)   Plaintiff and members of the Class purchased, acquired and/or sold
11                      Canoo securities between the time the Defendants failed to disclose
12                      or misrepresented material facts and the time the true facts were
                        disclosed, without knowledge of the omitted or misrepresented facts.
13
14         20.    Based upon the foregoing, Plaintiff and the members of the Class are
15
     entitled to a presumption of reliance upon the integrity of the market.
16
17
                  MATERIALLY FALSE & MISLEADING STATEMENTS

18
           21.    The Class Period begins on August 18, 2020. On August 18, 2020, the
19
20   Company issued a press release announcing that it had entered into a deal with Canoo

21   Holdings Ltd. which would result in it becoming a publicly listed company.
22
           22.    During an August 18, 2020 conference call with investors, Defendant Kranz
23
24   touted three streams of revenue for the Company. In addition to business to business
25
     (“B2B”) sales, the Company touted its engineering services business and a subscription-
26
27
     based consumer vehicle service business:

28         We have three phases of revenue streams. In the first phase, we call it
29         Engineering Services. This is a phase that already exists today. So, we
30                                       7
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 9 of 31 Page ID #:9



 1
           are working for companies and we are already making money with the
           first revenue stream. The second revenue stream is a B2C. This is a stream
 2         that we will have available when we launch our first vehicle, our lifestyle
 3         vehicle, by 2022. This is a consumer vehicle and it will be on
           subscription. The B2B service, that you see on the right side, is our third
 4         revenue stream. This will be a vehicle introduced in 2023, what we call a
 5         last-mile delivery vehicle, and this will be for sales. Three different revenue
           streams give us very good flexibility, and it makes also sure that we can
 6
           really tap into different areas to be profitable.
 7
           23.   In a presentation filed with the SEC on August 18, 2020, the Company
 8
 9   described these streams of revenue as follows:
10
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25         24.   In another slide the Company touted how its engineering services revenue
26
     would “reduce the Company’s overall execution risk”:
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30                                       8
        CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 10 of 31 Page ID #:10



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            25.   Also, during the August 18, 2020 conference call, Defendant Balciunas
14
15    touted the subscription-based business model:
16
            Looking at our margin, our target rate is approximately 40% for the
17          subscription business. As we look at other competitors that offer
18          subscription products in the technology sector, we see that this margin is
            very similar and there’s a lot of similarities between our model and their
19          model, even though at initial glance it may appear to be very different.…
20          Because depreciation is such a fundamental part of our business, think about
            it like a rental car business, for us to be able to achieve a 20% operating
21          profit is far greater than what you see in the traditional automotive
22          OEM business model where that margin is closer to 5% to 10%. So, it
            really does highlight the power of a subscription business model with
23
            this figure being a fully-burdened margin.
24
            26.   The presentation highlighted how the subscription model was superior to
25
26    leasing:
27
28
29
30                                        9
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 11 of 31 Page ID #:11



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12
13          27.    The presentation further touted how the subscription-based model would be
14    “more profitable & resilient”:
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30                                        10
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 12 of 31 Page ID #:12



 1
            28.    On December 21, 2020, Company announced its business combination with

 2    Canoo Holdings Ltd. had been completed and that the combined company’s common
 3
      stock and warrants would trade on the NASDAQ beginning on December 22, 2020.
 4
 5          29.    On December 21, 2020, after the market closed, the Company filed a Form
 6
      8-K with the SEC signed by Defendant Balciunas. The Form 8-K included a press
 7
      release touting the combination and the Company’s “unique business model”:
 8
 9          Canoo is a Los Angeles-based company that has developed breakthrough
10          electric vehicles that are reinventing the automotive landscape with bold
            innovations in design, pioneering technologies, and a unique business
11          model that defies traditional ownership to put customers first.
12
            30.    On January 13, 2021, after the market closed, the Company filed a Form 8-
13
14    K with the SEC with a press release announcing the Company’s new Board of Directors.

15    Defendant Balciunas signed the Form 8-K. Again, the Form 8-K included a press
16
      release in which the Company touted its “unique business model”:
17
18          Canoo is a Los Angeles-based company that has developed breakthrough
            electric vehicles that are reinventing the automotive landscape with bold
19
            innovations in design, pioneering technologies, and a unique business
20          model that defies traditional ownership to put customers first.
21          31.    A Form S-1 Registration Statement was filed on January 13, 2021 and
22
      signed by Defendants Aquila and Balciunas (the “S-1”).
23
24          32.    In the S-1, the Company touted the value of its EV engineering experience,
25
      its deal with Hyundai to provide engineering services, and discussions with other
26
27    industry participants:
28          This experience and advanced progress have garnered the attention of
29          prospective collaboration partners, including leading global automotive
30                                        11
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 13 of 31 Page ID #:13



 1
            OEMs. In February 2020, we entered into an agreement with Hyundai
            Motor Group to co-develop a future EV platform based on our modular and
 2          scalable skateboard technology, providing further validation of our technical
 3          leadership. The agreement provides for the co-development of a platform for
            a small segment electric vehicle for which the intellectual property
 4          developed will be jointly owned by us and Hyundai Motor Group. The
 5          agreement provides that it may be terminated for convenience by either
            party; however, certain provisions, including with respect to the joint-
 6
            ownership of intellectual property, survive any such termination. We are
 7          also currently in discussions with multiple other blue-chip industry
            participants interested in leveraging our technologies and engineering
 8
            expertise for their own commercial products.
 9
            33.   The S-1 also stated:
10
11          Our pipeline for engineering services includes EV concept design and
            engineering services for other OEMs, autonomous driving strategics and
12
            high growth technology companies. There is a significant market for
13          contract engineering services among legacy OEMs who lack the
14          expertise to develop an electric powertrain at the pace needed to
            capitalize on the rising regulatory requirements and global demand for
15          EVs. We are at a distinct competitive advantage to capitalize on this
16          growing demand. In fact, whereas other new EV entrants are forced to
            license key technologies and/or outsource primary engineering development
17          to larger OEMs, we have already received significant OEM interest in
18          our skateboard technology and our team’s expertise in platform
            engineering, powertrains and vehicle design, as is exemplified by the
19
            announcement of an agreement between us and Hyundai Motor Group
20          for the co-development of a future EV platform based on our modular
21
            skateboard technology.

22          Contract engineering opportunities serve as concrete points of external
            validation for our technology and the talent of our team, as well as provide
23
            additional sources of revenue and long-term commercial opportunities
24          (such as skateboard and technology licensing) as the relationship matures.
25
            We are also in discussions with a number of other partners and expect
            to be in a position to announce many more partnerships in due course.
26
            34.   The S-1 further touted its “innovative” business model:
27
28          Both our Lifestyle Vehicle and our Sport Vehicle are initially intended to be
29
            made available to consumers via an innovative subscription business

30                                        12
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 14 of 31 Page ID #:14



 1
            model. With a single monthly payment, customers will enjoy the benefits of
            an all-inclusive experience that, in addition to their own vehicle, also
 2          includes standard maintenance, warranty, registration and access to both
 3          insurance and vehicle charging. We plan to utilize an asset-light, flexible
            manufacturing strategy by outsourcing our direct vehicle production
 4          operations to a world-class vehicle contract manufacturing partner for our
 5          initial vehicle programs. In doing so, we will significantly reduce our up-
            front capital investment and eliminate the recurring fixed costs and overhead
 6
            that would be required for us to own and operate our own assembly facility.
 7
            35.   The S-1 further stated:
 8
 9          Both our Lifestyle Vehicle and our Sport Vehicle are initially intended to be
            made available to consumers via an innovative subscription business model.
10
            Research from Volvo and the Harris Poll shows that 74% of drivers believe
11          EVs are the future of driving, but many are concerned about trying a new
            technology. 40% of non-EV drivers responded that a 30 day “try before you
12
            buy” period would increase the likelihood of them purchasing an EV. In
13          other words, consumers are increasingly interested in EV technology, but
14          long-term commitments (or other hurdles like sizable down payments)
            remain a significant barrier to entry. By reducing the commitment
15          required for a typical car purchase or lease, we believe the subscription
16          model will help reduce the barriers to entry for consumers looking to
            drive an EV, while also providing us with a distinct opportunity for
17          recurring revenue and a unique profit margin profile. We believe this
18          model is supported by a number of key trends in consumer preferences
            and strong underlying financial metrics as compared to a traditional
19
            one-time sale model.
20
                                            ***
21
22          During 2020, our revenue has been derived from the provision of
            engineering, development and design consulting services on a project basis.
23          Once we reach commercialization and commence production of our EVs, we
24          expect that the significant majority of our revenue will be derived from
            our consumer subscription program for our Lifestyle Vehicle and Sport
25          Vehicle, as well as sales of our Multi-Purpose Delivery Vehicle.
26
27
28
29
30                                        13
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 15 of 31 Page ID #:15



 1
            36.    On March 11, 2021, the Company filed a Form 8-K signed by Defendant

 2    Balciunas with an attached press release dated March 10, 2021 announcing the debut of a
 3
      fully-electric pickup truck. The press release further again touted its business model:
 4
 5          Canoo is a Los Angeles-based company that has developed breakthrough
            electric vehicles that are reinventing the automotive landscape with bold
 6
            innovations in design, pioneering technologies, and a unique business
 7          model that defies traditional ownership to put customers first.
 8          37.    On March 15, 2021, the Company filed a Form 8-K signed by Defendant
 9
      Balciunas with an attached press release dated March 15, 2021 in which the Company
10
11    touted its “unique business model”:
12
            Canoo is a Los Angeles-based company that has developed breakthrough
13          electric vehicles that are reinventing the automotive landscape with bold
14          innovations in design, pioneering technologies, and a unique business
            model that defies traditional ownership to put customers first.
15
            38.    The statements described above were materially false and misleading and
16
17    failed to disclose material adverse facts about the Company’s business, operations, and
18
      prospects. As discussed below, the Defendants misled investors by misrepresenting
19
20    and/or failing to disclose that: (i) the Company’s engineering services was not a viable
21    business, would not provide meaningful revenue in 2021, and would not reduce
22
      operational risk; (ii) that the Company would no longer be focused on its subscription-
23
24    based business model; and (iii) as a result, the Company’s public statements were
25
      materially false and misleading at all relevant times.
26
27
28
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30                                        14
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 16 of 31 Page ID #:16



 1
                                     THE TRUTH EMERGES

 2
            39.   On March 29, 2021, after the market closed, Canoo issued a press release
 3
 4    (“Q4 Release”) reporting its fourth quarter and full year 2020 results. The Q4 Release

 5    removed the language touting its “unique business model” simply stating: “Canoo has
 6
      developed breakthrough electric vehicles that are reinventing the automotive landscape
 7
 8    with bold innovations in design and pioneering technologies.”
 9
            40.   On March 29, 2021, the Company held a conference call to discuss its
10
11
      financial results (the “Q4 Call”). During the call Defendant Aquila announced that

12    Defendant Balciunas was being replaced as CFO. The Company’s CEO, Defendant
13
      Kranz, was not on the call.
14
15          41.   During the Q4 Call, Defendant Aquila revealed that “it was decided by our
16
      Board to de-emphasize the originally stated contract engineering services line.”
17
            42.   An analyst from ROTH Capital stated during the Q4 Call, “I would
18
19    acknowledge that these are significant surprises on the call today, and that’s not ideal
20
      after a SPAC – the IPO process” and asked why the Company “would deemphasize
21
22    engineering given that the original story was it would subsidize the development and
23    broaden the partner opportunity with potentially multiple hats under license?”
24
      Defendant Aquila replied, “I would say that from a Company perspective, it was a
25
26    contradiction…. [C]ontract engineering house is just really not going to drive the best
27
      shareholder value.”
28
29
30                                        15
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 17 of 31 Page ID #:17



 1
            43.    Another analyst inquired: “[D]uring the course of the year, you stated a

 2    couple of times that you had under discussion with some OEMs and possibly the
 3
      contract manufacturers. You said that there are going to be some announcements by the
 4
 5    end of Q4. I’m just wondering what happened that changed all that?” To which,
 6
      Defendant Aquila responded:
 7
            I think that [other Canoo management] were focused on maybe a little more
 8
            aggressive than I would be in their statements. I think more maturity of this
 9          team would not be that presumptuous. We only announced what is
10          contracted. But yes, I think they had the opportunities but they weren’t at our
            standard of representation to the public markets…. And then with respect to
11          contract manufacturing, again we wouldn’t make an announcement. Again,
12          this comes back to having an experienced public company team here to be
            careful of the statements you make. So again, I think it was a little premature
13          deal.
14
            44.    Regarding the subscription model, another analyst asked, “I mean you’ve
15
16    tweaked the business model a little bit. But I mean, just curious on the sort of retail to the
17    consumer side, how you’re thinking about that going forward? Is there just too much
18
      opportunity on the commercial side and you’re kind of putting that sort of back burner or
19
20    is this subscription model still in play? Because I know that was part of the story before.”
21
      To which Defendant Aquila responded:
22
23          If you think about a membership model, when I came in and took my role
            and we spent a lot of money analyzing the weight that this will have on the
24          balance sheet…. [S]o you can only have a certain percentage of your
25          business on membership. Otherwise you’ve got a big cash hit that starts to
            develop on you, as you can probably imagine. So we'll be doing that on an
26
            appropriate basis…. [A]s you can see the modifications we’re doing. And to
27          your point, when you really think about it on a financial burden basis on the
            balance sheet, yes there’s probably 80% change but it’s too [SIC] that
28
            mathematical positive. As far as the sequence of changing the things we’re
29          really on the top hat side, which is less right here in the 20% to 40% range.
30                                        16
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 18 of 31 Page ID #:18



 1
            So I like the model, I believe in the model. I know the model. It holds up
            mathematically and we’ll walk you through this. And again, I apologize to
 2          anybody. As a leader, you always own the past before the present or the
 3          future. And so I take everyone's comments in all the three categories
 4          45.   An article published by The Verge shortly after the call reported:
 5
            The deal between Canoo and Hyundai to build electric vehicles appears
 6          to be dead, as the California EV startup is moving away from trying to
 7          sell its electric vehicle technology to other automakers.
 8          Canoo chairman Tony Aquila shared the news Monday during an icy
 9
            investor call―Canoo’s first as a publicly-traded company. Canoo’s CEO
            was also absent from the call, and the company announced earlier in the
10          day that its CFO had resigned to take another job—the second major
11          departure in recent weeks following Canoo losing its head of corporate
            strategy.
12
13
                                            ***

14          “These are significant surprises on the call today, and that’s not ideal,” Roth
            Capital analyst Craig Irwin said at one point on the call.
15
16          The deal with Hyundai was announced in February 2020, and it was
            supposed to result in both the Hyundai and Kia brands building vehicles on
17          Canoo’s electric vehicle platform. It was seen as a major vote of confidence
18          in the startup, which was just two years old at the time, as well as its tech.
            Canoo called it a “key partnership.” Hyundai did not immediately respond to
19
            a request for comment. Canoo did not respond beyond Aquila’s statements.
20
                                            ***
21
22          In documents filed with the Securities and Exchange Commission, both
            before and after the merger, Canoo had said its planned engineering services
23          business presented “a significant market for contract engineering services
24          among legacy OEMs who lack the expertise to develop an electric
            powertrain at the pace needed to capitalize on the rising regulatory
25          requirements and global demand for EVs.”
26
                                            ***
27
            But on Monday, Aquila said Canoo will now focus more on making and
28
            selling its own vehicles to commercial operators. The company has so far
29          announced a delivery vehicle, a pickup truck, and a van, all of which are
30                                        17
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 19 of 31 Page ID #:19



 1
            built on the same underlying technological platform. Canoo will focus even
            less on the idea of selling its electric van to consumers through a
 2          subscription model — the original pitch when the startup broke cover in
 3          2018.
 4          Aquila has previously spoken about focusing more on selling to fleet
 5
            operators and small businesses as opposed to customers, though it wasn’t
            until Monday that he explained just how far he is willing to take that
 6          strategy shift. To wit, Canoo quietly uploaded a new investor
 7          presentation to its investor relations website on Monday that no longer
            mentions Hyundai.
 8
 9
            “We have so much demand for our three [vehicles], let’s get all that work
            done, and then let’s, you know, look at if there [are] partnerships,” he said.
10          Aquila explained he believes that this will make for a more sound business
11          with less risk. When pressed on the startup’s previous claims about this part
            of its business, Aquila―who invested $35 million into Canoo before the
12          SPAC merger―pointed to its prior leadership. Aquila said they were “a
13          little more aggressive” than he would’ve been with some of their public
            statements, and that talk of potential partnerships was “presumptuous.”
14
15          “You’ve got to be careful with statements you make. So, you know,
            again, I think it was a little premature,” he said.
16
17
            While some of those executives are indeed now gone, like cofounder and
            former CEO Stefan Krause, others remain — though they weren’t on
18          Monday’s call. At one point Aquila was asked directly if Krause’s
19          replacement, Canoo cofounder Ulrich Kranz, was still CEO. Aquila
            confirmed he is, though as The Verge first reported late last year, Kranz’s
20          contract was recently renegotiated and he was removed from the board of
21          directors.
22          Aquila said he believes the refocused business will help “protect” the
23          intellectual property Canoo has developed, and that the original deal with
            Hyundai didn’t factor in the value of that IP. When one analyst asked if
24          Aquila thinks Hyundai misappropriated any of Canoo’s IP, Aquila said “well
25          I’ll leave it to you to make that decision.”
26          46.    In response to this news, shares of Canoo fell $2.50 (or $21.2%) from a
27
      March 29, 2021 close of $11.80 per share to close at $9.30 per share on March 30, 2021,
28
29    on heavy volume.
30                                        18
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 20 of 31 Page ID #:20



 1
            47.    An analyst from Roth Capital Partners downgraded the Company to neutral

 2    from buy and slashed the price target to $12 from $30 citing the hard pivot in the
 3
      Company’s business model.
 4
 5                         ADDITIONAL SCIENTER ALLEGATIONS
 6
            48.    The Individual Defendants knew and/or recklessly disregarded the falsity
 7
 8    and misleading nature of the information that they caused to be disseminated to the
 9
      investing public. The ongoing fraudulent scheme described herein could not have been
10
11
      perpetrated over a substantial period of time without the knowledge and complicity of

12    the personnel at the highest level of the Company, including the Individual Defendants.
13
      The Individual Defendants were motivated to materially misrepresent the true nature of
14
15    the Company’s business, operations, and financial affairs to the public and regulators in
16
      order to keep the Company’s share price artificially high.
17
                             LOSS CAUSATION / ECONOMIC LOSS
18
19
            49.    During the Class Period, as detailed herein, the Individual Defendants
20
21
      engaged in a scheme to deceive the market and a course of conduct that artificially

22    inflated the Company’s common stock and warrant prices, and operated as a fraud or
23
      deceit on acquirers of the Company’s common stock and warrants. As detailed above,
24
25    when the truth about the Company’s financial situation was revealed, the Company’s
26
      common stock and warrants declined as the prior artificial inflation came out of its
27
      common stock price. That decline in Company’s common stock and warrant prices was
28
29    a direct result of the nature and extent of the fraud finally being revealed to investors and
30                                        19
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 21 of 31 Page ID #:21



 1
      the market. The timing and magnitude of the common stock and warrant prices decline

 2    negates any inference that the loss suffered by Plaintiff and other members of the Class
 3
      was caused by changed market conditions, macroeconomic or industry factors or
 4
 5    Company-specific facts unrelated to the fraudulent conduct. The economic loss, i.e.,
 6
      damages, suffered by the Plaintiff and other Class members was a direct result of the
 7
      fraudulent scheme to artificially inflate the Company’s common stock and warrant prices
 8
 9    and the subsequent significant decline in the value of the Company’s common stock and
10
      warrants when the prior misrepresentations and other fraudulent conduct were revealed.
11
12          50.   At all times relevant, Defendants’ materially false and misleading
13    statements or omissions alleged herein directly or proximately caused the damages
14
      suffered by the Plaintiff and other Class members. Those statements were materially
15
16    false and misleading because they failed to disclose a true and accurate picture of
17
      Company’s business, operations and financial condition, as alleged herein. Throughout
18
19    the Class Period, Defendants publicly issued materially false and misleading statements
20    and omitted material facts necessary to make Defendants’ statements not false or
21
      misleading, causing Company’s common stock and warrant prices to be artificially
22
23    inflated. Plaintiff and other Class members purchased Company’s common stock and
24
      warrant prices at those artificially inflated prices, causing them to suffer the damages
25
26    complained of herein.

27
28
29
30                                        20
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 22 of 31 Page ID #:22



 1
                                        NO SAFE HARBOR

 2
             51.    The statutory safe harbor under the Private Securities Litigation Reform Act
 3
 4    of 1995, which applies to forward-looking statements under certain circumstances, does

 5    not apply to any of the allegedly false and misleading statements pleaded in this
 6
      complaint. The statements alleged to be false and misleading herein all relate to then-
 7
 8    existing facts and conditions. In addition, to the extent certain of the statements alleged
 9
      to be false may be characterized as forward-looking, they were not adequately identified
10
11
      as “forward-looking statements” when made, and there were no meaningful cautionary

12    statements identifying important factors that could cause actual results to differ
13
      materially from those in the purportedly forward-looking statements. Alternatively, to
14
15    the extent that the statutory safe harbor is intended to apply to any forward-looking
16
      statements pleaded herein, Defendants are liable for those false forward-looking
17
      statements because, at the time each of those forward-looking statements was made, the
18
19    particular speaker had actual knowledge that the particular forward-looking statement
20
      was materially false or misleading, and/or the forward-looking statement was authorized
21
22    and/or approved by an executive officer of the Company who knew that those statements
23    were false, misleading or omitted necessary information when they were made.
24
                                              COUNT I
25
                         Violations of Section 10(b) of the Exchange Act and
26                              Rule 10b-5 Promulgated Thereunder
27
                                       (Against All Defendants)
             52.    Plaintiff repeats and realleges each and every allegation contained above as
28
29    if fully set forth herein.
30                                        21
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 23 of 31 Page ID #:23



 1
             53.   This Count is asserted against Defendants and is based upon Section 10(b)

 2    of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the
 3
      SEC.
 4
 5           54.   Pursuant to the above plan, scheme, conspiracy and course of conduct, each
 6
      of these defendants participated directly or indirectly in the preparation and/or issuance
 7
      of the quarterly and annual reports, SEC filings, press releases and other statements and
 8
 9    documents described above, including statements made to securities analysts and the
10
      media that were designed to influence the market for the Company’s securities. Such
11
12    reports, filings, releases and statements were materially false and misleading in that they
13    failed to disclose material adverse information and misrepresented the truth about the
14
      Company’s finances and business prospects.
15
16           55.   By virtue of their positions at the Company Defendants had actual
17
      knowledge of the materially false and misleading statements and material omissions
18
19    alleged herein and intended thereby to deceive Plaintiff and the other members of the
20    Class, or, in the alternative, these defendants acted with reckless disregard for the truth in
21
      that they failed or refused to ascertain and disclose such facts as would reveal the
22
23    materially false and misleading nature of the statements made, although such facts were
24
      readily available to these defendants. Said acts and omissions of Defendants were
25
26    committed willfully or with reckless disregard for the truth. In addition, each defendant

27    knew or recklessly disregarded that material facts were being misrepresented or omitted
28
      as described above.
29
30                                        22
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 24 of 31 Page ID #:24



 1
            56.    Information showing that the Defendants acted knowingly or with reckless

 2    disregard for the truth is within these Defendants’ knowledge and control. As the senior
 3
      managers and/or directors of the Company, the Individual Defendants each had
 4
 5    knowledge of the details of the Company’s internal affairs.
 6
            57.    The Individual Defendants are liable both directly and indirectly for the
 7
      wrongs complained of herein. Because of their positions of control and authority, the
 8
 9    Individual Defendants were able to and did, directly or indirectly, control the content of
10
      the statements of the Company. As officers and/or directors of a publicly held company,
11
12    Individual Defendants had a duty to disseminate timely, accurate, and truthful
13    information with respect to the Company’s businesses, operations, future financial
14
      condition and future prospects. As a result of the dissemination of the aforementioned
15
16    false and misleading reports, releases and public statements, the market price of the
17
      Company’s securities was artificially inflated throughout the Class Period. In ignorance
18
19    of the adverse facts concerning the Company’s business and financial condition which
20    were concealed by these defendants, Plaintiff and the other members of the Class
21
      purchased or otherwise acquired the Company’s securities at artificially inflated prices
22
23    and relied upon the price of the securities, the integrity of the market for the securities
24
      and/or upon statements disseminated by these defendants, and were damaged thereby.
25
26          58.    During the Class Period, the Company’s securities were traded on an active

27    and efficient market. Plaintiff and the other members of the Class, relying on the
28
      materially false and misleading statements described herein, which these defendants
29
30                                        23
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 25 of 31 Page ID #:25



 1
      made, issued or caused to be disseminated, or relying upon the integrity of the market,

 2    purchased or otherwise acquired shares of the Company’s securities at prices artificially
 3
      inflated by these defendants’ wrongful conduct. Had Plaintiff and the other members of
 4
 5    the Class known the truth, they would not have purchased or otherwise acquired said
 6
      securities, or would not have purchased or otherwise acquired them at the inflated prices
 7
      that were paid. At the time of the purchases and/or acquisitions by Plaintiff and the
 8
 9    Class, the true value of the Company’s securities was substantially lower than the prices
10
      paid by Plaintiff and the other members of the Class.          The market price of the
11
12    Company’s securities declined upon public disclosure of the facts alleged herein to the
13    injury of Plaintiff and Class members.
14
            59.   By reason of the foregoing, the Individual Defendants knowingly or
15
16    recklessly, directly or indirectly violated Section 10(b) of the Exchange Act and SEC
17
      Rule 10b-5 promulgated thereunder in that they: (a) employed devices, schemes and
18
19    artifices to defraud; (b) failed to disclose material information; or (c) engaged in acts,
20    practices and a course of business which operated as a fraud and deceit upon Plaintiff
21
      and the other members of the Class in connection with their purchases of the Company’s
22
23    common stock and warrants during the Class Period.
24
            60.   As a direct and proximate result of the Individual Defendants wrongful
25
26    conduct, Plaintiff and the other members of the Class suffered damages in connection

27    with their respective purchases, acquisitions and sales of the Company’s securities
28
29
30                                        24
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 26 of 31 Page ID #:26



 1
      during the Class Period, upon the disclosure that the Company had been disseminating

 2    misrepresented financial statements to the investing public.
 3
                                              COUNT II
 4                         Violations of Section 20(a) of the Exchange Act
 5                              (Against the Individual Defendants)
 6          61.     Plaintiff repeats and realleges each and every allegation contained in the
 7    foregoing paragraphs as if fully set forth herein.
 8
            62.     During the Class Period, the Individual Defendants participated in the
 9
10    operation and management of the Company, and conducted and participated, directly and
11
      indirectly, in the conduct of the Company’s business affairs. Because of their senior
12
13    positions, they knew the adverse non-public information about the Company’s
14    misstatement of income and expenses and false financial statements.
15
            63.     As officers and/or directors of a publicly owned company, the Individual
16
17    Defendants had a duty to disseminate accurate and truthful information with respect to
18
      the Company’s financial condition and results of operations, and to correct promptly any
19
20    public statements issued by the Company which had become materially false or

21    misleading.
22
            64.     Because of their positions of control and authority as senior officers, the
23
24    Individual Defendants were able to, and did, control the contents of the various reports,
25
      press releases and public filings which the Company disseminated in the marketplace
26
27
      during the Class Period concerning the Company’s results of operations. Throughout the

28    Class Period, the Individual Defendants exercised their power and authority to cause the
29
30                                        25
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 27 of 31 Page ID #:27



 1
      Company to engage in the wrongful acts complained of herein.              The Individual

 2    Defendants therefore, were “controlling persons” of the Company within the meaning of
 3
      Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful
 4
 5    conduct alleged which artificially inflated the market price of the Company securities.
 6
            65.   By reason of the above conduct, the Individual Defendants are liable
 7
      pursuant to Section 20(a) of the Exchange Act for the violations committed by the
 8
 9    Company.
10
                                      PRAYER FOR RELIEF
11
12          WHEREFORE, Plaintiff, on his own behalf and on behalf of the Class, prays for
13
      judgment as follows:
14
15                (a)    Determining this action to be a proper class action and certifying
16
                         Plaintiff as class representative under Rule 23 of the Federal Rules of
17
                         Civil Procedure;
18
19                (b)    Awarding compensatory damages in favor of Plaintiff and the other
20
                         members of the Class against all Defendants, jointly and severally,
21
22                       for the damages sustained as a result of the wrongdoings of
23                       Defendants, together with interest thereon;
24
                  (c)    Awarding Plaintiff the fees and expenses incurred in this action
25
26                       including reasonable allowance of fees for Plaintiff’s attorneys and
27
                         experts;
28
29
30                                        26
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
     Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 28 of 31 Page ID #:28



 1
                  (d)    Granting extraordinary equitable and/or injunctive relief as permitted

 2                       by law, equity and federal and state statutory provisions sued on
 3
                         hereunder; and
 4
 5                (e)    Granting such other and further relief as the Court may deem just and
 6
                         proper.
 7
                                   JURY TRIAL DEMANDED
 8
 9
            Plaintiff hereby demands a trial by jury.
10
11
       Dated: April 9, 2021
12
13
                                                   Respectfully submitted,

14                                                 POMERANTZ LLP
15                                                 By: s/ Jennifer Pafiti
16                                                 Jennifer Pafiti (SBN 282790)
                                                   1100 Glendon Avenue, 15th Floor
17                                                 Los Angeles, CA 90024
18                                                 Telephone: 310-405-7190
                                                   jpafiti@pomlaw.com
19
20                                                 HOLZER & HOLZER, LLC
                                                   Corey D. Holzer
21                                                 (pro hac vice application forthcoming)
22                                                 211 Perimeter Center Parkway, Suite 1010
                                                   Atlanta, Georgia 30346
23
                                                   Telephone: (770) 392-0090
24                                                 Facsimile: (770) 392-0029
                                                   cholzer@holzerlaw.com
25
26                                                 Attorneys for Plaintiff
27
28
29
30                                        27
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
31
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          Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 29 of 31 Page ID #:29




                                       CERTIFICATION OF NAMED PLAINTIFF
                                     PURSUANT TO FEDERAL SECURITIES LAWS

            The undersigned declares, as to the claims asserted under the federal securities laws, that:

                     Plaintiff has reviewed the initial complaint filed in this action.

                    Plaintiff did not purchase and/or acquire the security that is the subject of this action at
            the direction of Plaintiff's counsel or in order to participate in any private action under the federal
            securities laws.

                   Plaintiff is willing to serve as a representative party on behalf of the class, including
            providing testimony at deposition and trial, if necessary. I understand that this is not a claim
            form, and that my ability to share in any recovery as a member of the class is not dependent upon
            execution of this Plaintiff Certification.

                   Plaintiff's transactions in the security that is the subject of this action during the Class
            Period are as follows:

                     Purchases:

                              Name of Company          Date(s) Purchased      # Shares Purchased       Cost/Share

                              GOEV                           01/27/2021                   7              $15.37

                                                         01/27/2021                       32             $15.30

                                                         02/03/2021                   11                 $16.40

                                                         03/04/2021                   50                 $11.44

                     Sales:

                              Name of Company          Date(s) Sold        # Shares Sold           Proceeds/Share

                              GOEV




                    During the three (3) years prior to the date of this certification, Plaintiff has not sought to
            serve or served as a class representative in an action filed under the federal securities laws except
            for the following (if any):

            None
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          Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 30 of 31 Page ID #:30




                    Plaintiff will not accept any payment for serving as a representative party on behalf of the
            class beyond Plaintiff's pro rata share of any recovery, except such reasonable costs and expenses
            (including lost wages) directly relating to the representation of the class as ordered or approved
            by the court.

                     I declare under penalty of perjury that the foregoing is true and correct.
                                                              (redacted)
                            1 day of _______,
            Executed this _____       April   2021 in _
                                                                           City                   State



                                                  (Signature) X__________________________________

                                                                        Jeff Tyler
                                                  (Print Name)___________________________________
Case 2:21-cv-03080-FMO-JPR Document 1 Filed 04/09/21 Page 31 of 31 Page ID #:31



  Canoo Inc. f/k/a Hennessy Capital Acquisition Corp. IV (GOEV)                   Tyler, Jeff

                                      List of Purchases and Sales

      Transaction                                    Number of            Price Per
         Type                  Date                  Shares/Unit         Share/Unit

       Purchase                     1/27/2021                        7            $15.3700
       Purchase                     1/27/2021                       32            $15.3000
       Purchase                      2/3/2021                       11            $16.4000
       Purchase                      3/4/2021                       50            $11.4000
